         Case 1:22-cr-00140-BAH Document 127 Filed 02/05/24 Page 1 of 6



                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MARYLAND

 UNITED STATES                                   :
                                                 :
                                                 :
        v.                                       :         Case No. MJM-22-0140
                                                 :
 DENNIS HAIRSTON                                 :
                                                 :
        Defendant                                :

MOTION TO SUPPRESS TANGIBLE AND DERIVATIVE EVIDENCE IN VIOLATION
           OF THE FOURTH AMENDMENT ON AUGUST 26, 2021

       Dennis Hairston, through undersigned counsel, hereby respectfully moves this Honorable

Court, pursuant to Rule 12(b)(3)(C) of the Federal Rules of Criminal Procedure, to suppress all

tangible and derivative evidence obtained in connection with law enforcement officers’ unlawful

and warrantless actions during his arrest on August 26, 2021, in violation of the Fourth

Amendment of the United States Constitution.

                     PROCEDURAL AND FACTUAL BACKGROUND

       Mr. Hairston is charged by indictment with Kidnapping Conspiracy, in violation of 18 USC

§ 1201(c) (Count One); Hobbs Act Conspiracy, in violation of 18 USC § 1951(a) (Count Two);

Kidnapping, in violation of 18 USC § 1201 (Counts Three, Seven, and Ten); Carjacking, in

violation of 18 USC § 2119 (Counts Four and Eight); Hobbs Act Robbery, in violation of 18 USC

§ 1951(a) (Count Five and Eleven); and Use of a Firearm During Crime of Violence, in violation

of 18 U.S.C. § 924(c) (Counts Six, Nine, and Twelve). ECF No. 1. The charges stem from three

separate abductions that occurred on May 5, 2021; May 15 - 16, 2021; and August 2, 2021.

       On August 26, 2021, Mr. Hairston was arrested by officers of the Baltimore County Police

Department as they responded to a call for an attempted burglary, unrelated to the conduct charged

in the instant indictment. See Ex. A (Baltimore County Police Case Report). At approximately

                                                     1
         Case 1:22-cr-00140-BAH Document 127 Filed 02/05/24 Page 2 of 6



3:23 a.m., Baltimore County patrol officers were dispatched to the US Fuel, located at 4305

Southern Boulevard in reference to a burglary in progress. The dispatcher did not provide a

description as to the suspects’ race and clothing. When Officer K. Williams arrived, he exited his

vehicle and approached the rear of the building. There, Officer Williams allegedly observed two

individuals wearing dark clothing fleeing on foot in the rear of the location.

        At a later time, Officer V. Moore observed two individuals running across Southern

Boulevard in front of 4305 Southern Boulevard. Officer Moore apprehended one individual, later

identified as Mr. Dennis Hairston, in the area of 1026 Leeds Avenue, 21229. Officer Moore

withdrew his service weapon and demanded repeatedly that Mr. Hairston “get down on the

ground!” Mr. Hairston complied, rolling over on the grass and spreading his arms and was placed

into handcuffs. The arrest was made without a warrant and based on alleged observations by

officers. Subsequent to arresting Mr. Hairston, police searched his person. A search of the left

pocket of his athletic shorts resulted in the recovery of keys and a search of the right pocket of

those shorts resulted in the recovery of two black Android LG phones.

                                      LEGAL STANDARD

       The Fourth Amendment protects against unreasonable searches and seizures. U.S. Const.,

amend IV; see also Wilson v. Arkansas, 514 U.S. 927, 931 (1995) (“the underlying command of

the Fourth Amendment is always that searches and seizures be reasonable.”). “The Supreme Court

has recognized three distinct types of police-citizen interactions: (1) arrest, which must be

supported by probable cause, see Brown v. Illinois, 422 U.S. 590 (1975); (2) brief investigatory

stops, which must be supported by reasonable articulable suspicion, see Terry v. Ohio, 392 U.S. 1

(1968); and (3) brief encounters between police and citizens, which require no objective




                                                     2
         Case 1:22-cr-00140-BAH Document 127 Filed 02/05/24 Page 3 of 6



justification, see Florida v. Bostick, 501 U.S. 429 (1991).” United States v. Weaver, 282 F.3d 302,

309 (4th Cir. 2002).

       Warrantless searches and seizures are per se unreasonable, and the burden is on the

government to establish that a search or seizure falls within a well-established exception to the

warrant requirement. Coolidge v. New Hampshire, 403 U.S. 443, 454-55 (1971); Stoner v.

California, 376 U.S. 483, 486 (1964); United States v Jeffers, 342 U.S. 48, 51 (1951); United

States v. Gwinn, 219 F.3d 326, 335 (4th Cir. 2000). An infringement on such freedom for an

investigatory stop and seizure is only justified when there are “specific and articulable facts which,

taken together with rational inferences from those facts, reasonably warrant that intrusion.” Terry,

392 U.S. at 21. In order to arrest, the standard is heightened and law enforcement must establish

that they have probable cause to do so. Maryland v. Pringle, 540 U.S. 366, 369 (2003). Probable

cause arises when “facts and circumstances with the officer’s knowledge … are sufficient to

warrant a prudent person, or one of reasonable caution in believing, in the circumstances shown,

that the suspect has committed, is committing, or is about to commit an offense.” Michigan v.

DeFillippo, 443 U.S. 31, 37 (1979). This belief of guilt must be particularized to a specific

individual. Ybarra v. Illinois, 444 U.S 85, 91 (1979). And although probable cause requires less

than the standard of evidence needed to convict, it requires more than “bare suspicion.” United

States v. Gray, 137 F.3d 765, 769 (4th Cir. 1998).

       Whether probable cause exists depends on the totality of the circumstances viewed from

the perspective of a reasonable police officer. Pringle, 540 U.S. at 371; Taylor v. Waters, 81 F.3d

429, 434 (4th Cir. 1996). The Fourth Circuit emphasized that in order to justify a frisk – requiring

a lower standard than used to justify an arrest – “the Constitution requires ‘a particularized and

objective basis for suspecting the particular person stopped of criminal activity.’ ” United States



                                                      3
         Case 1:22-cr-00140-BAH Document 127 Filed 02/05/24 Page 4 of 6



v. Massenburg, 654 F.3d 480, 486 (4th Cir. 2011) (quoting United States v. Griffin, 589 F.3d 148,

152 (4th Cir.2009)). In holding the stop unlawful, the court found that the anonymous tip neither

provided any predictive information about the suspect nor tested the knowledge or credibility of

the informant. Id. at 486-487. In addition, the court found that the tip's reliability was undermined

because it did not include a “physical description of the perpetrators or any other outward

identifying features,” meaning that “the only link between the tip and Massenburg's group was

[their] rough proximity to the alleged site of the gunfire.” Id. at 487. cf. United States v. Jones, 242

F.3d 215, 218 (4th Cir.2001) (concluding that the anonymous tip at issue, which alleged that

several black males were “causing a disturbance” and consuming alcohol, “was so barren of detail

about the alleged culprits' physical descriptions that it was even less reliable than the deficient tip

in [Florida v. J.L. 529 U.S. 266 (2000)]”).

        Moreover, probable cause cannot be supplied merely because an individual ran from

police, an act which is “not necessarily indicative of wrongdoing.” 1 Illinois v. Wardlow, 528 U.S.




1
   Courts have started to acknowledge that the history of negative interactions between the police
and black men has made the decision to run from police an understandable one—even by those
who are not engaged in wrong doing. See Com. v. Warren, 475 Mass. 530, 538-39 (2016)
(holding that “flight to avoid [police] contact should be given little, if any, weight as a factor
probative of reasonable suspicion” and that “where the suspect is a black male stopped by the
police on the streets of Boston, the analysis of flight as a factor in the reasonable suspicion
calculus cannot be divorced from the findings in a recent Boston Police Department (department)
report documenting a pattern of racial profiling of black males in the city of Boston.”) See also
United States v. Curry, 965 F.3d 313, 332 (4th Cir. 2020) (Gregory, C.J., concurring) (“There’s a
long history of black and brown communities feeling unsafe in police presence.”); United States
v. Brown, 925 F.3d 1150, 1155, 1156 (9th Cir. 2019) (“the Court has a long history of
recognizing that innocent people may reasonably flee from police” and “[i]n evaluating flight as
a basis for reasonable suspicion, we cannot totally discount the issue of race.”); Wardlow, 528
U.S. at 132-33 (Stevens, J., concurring in part and dissenting in part) (“Among some citizens,
particularly minorities and those residing in high crime areas, there is also the possibility that the
fleeing person is entirely innocent, but, with or without justification, believes that contact with
the police can itself be dangerous. … For such a person, unprovoked flight is neither ‘aberrant’
nor ‘abnormal.’”)
                                                       4
         Case 1:22-cr-00140-BAH Document 127 Filed 02/05/24 Page 5 of 6



199, 124 (2000). See also Florida v. Bostick, 501 U.S. 429, 437 (1991) (holding that the “refusal

to cooperate, without more, does not furnish the minimal level of objective justification needed for

a detention or seizure.”).

                                            ARGUMENT

        Office Moore’s initial encounter with Mr. Hairston was a Fourth Amendment seizure. This

was much more than an investigatory stop; Mr. Hairston was ordered on the ground at gunpoint,

surrounded by multiple offers, and almost immediately placed in handcuffs. This amounted to a

custodial arrest that was executed in the absence of probable cause.

        The content of the 911 call, which was relayed to the various officers by dispatch, contained

only allegations that a burglary was in progress at the US Fuel, located at 4305 Southwestern

Boulevard. The content of the tip provided even less support for a stop and frisk than that in United

States v. Massenburg let alone an arrest, as there was no description of the suspects, much less

“predictive information,” which would allow police “to test the informant's knowledge or

credibility. Because of the lack of descriptive information, the only link between the information

broadcasted by dispatch and Mr. Hairston was his proximity to US Fuel and his flight from officers.

At an evidentiary hearing it will become clear that the totality of facts did not amount to reasonable

suspicion, let alone the higher standard of probable cause that was necessary to justify the arrest

of Mr. Hairston on August 26, 2021.

        The appropriate remedy is suppression of all the evidence, both direct and derivative.

United States v. Oscar-Torres, 507 F.3d 224, 227 (4th Cir. 2007) (“Indisputably, suppression of

evidence obtained during illegal police conduct provides the usual remedy for Fourth Amendment

violations.”). Since the officers' stop of Mr. Hairston cannot be justified as a lawful warrantless

arrest, however, all evidentiary fruits of the frisk as well as post-arrest statements are “fruits of the



                                                       5
         Case 1:22-cr-00140-BAH Document 127 Filed 02/05/24 Page 6 of 6



poisonous tree” which must be suppressed as well. Wong Sun v. United States, 371 U.S. 471

(1963); see also Weeks v. United States, 232 U.S. 383 (1914) (establishing the exclusionary rule

that bars the use of illegally obtained evidence at trial).

        Because the discovery process and the investigation of this case is incomplete, Mr. Hairston

reserves the right to move for suppression of evidence based on grounds not now discernible.

Further, Mr. Hairston reserves the right to supplement this motion with additional arguments and

information.

                                           CONCLUSION

        As a result of the constitutional violations alleged herein and any other ground that may

become apparent upon a hearing on the motion, Mr. Hairston requests that this Court enter an

Order suppressing any evidence seized in connection with the illegal seizure noted above.

                                        Respectfully submitted,

                                                James Wyda
                                                Federal Public Defender
                                                 for the District of Maryland

                                                ___/s/________________
                                                Sasha Garcon (#817494)
                                                Andrew Szekely (#16407)
                                                Assistant Federal Public Defenders
                                                100 S. Charles Street, Tower II
                                                Suite 900
                                                Baltimore, MD 21201
                                                Phone: 410-962-3962
                                                Email: sasha_garcon@fd.org
                                                       andrew_szekely@fd.org




                                                       6
